                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

BYTEMARK, INC.,                                 §
                                                §
               Plaintiff,                       §    Case No. 2:16-CV-00543-JRG-RSP
                                                §
v.                                              §
                                                §
MASABI LTD.,                                    §
                                                §
               Defendant.                       §
                                                §

                                            ORDER

       Before the Court is the Report and Recommendation filed by Magistrate Judge Payne on

April 28, 2017, Dkt. No. 58, recommending that Defendant’s Motion to Dismiss for Failure to

State a Claim, Dkt. No. 39, be denied. No objections have been filed. Accordingly, and after a de

novo review, the Report and Recommendation is ADOPTED. Defendants’ Motion to Dismiss,

Dkt. No. 39, is DENIED.


        So Ordered this
        May 17, 2017
